                                                                                                          Case 5:20-cv-01744-RGK-SP Document 40 Filed 09/28/21 Page 1 of 2 Page ID #:174



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                                                                                                                Attorneys for Defendant
                                                                                                            7   CITY OF PALM SPRINGS, SERGEANT
                                                                                                                KYLE STJERNE, OFFICER WILLIAM
                                                                                                            8   MOSS, OFFICER EDMAN ESCALLADA
                                                                                                            9
                                                                                                                                               UNITED STATES DISTRICT COURT
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                                                                                                                                              CENTRAL DISTRICT OF CALIFORNIA
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BEST BEST & KRIEGER LLP




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                                             2855 E. GUASTI ROAD, SUITE 400
                                                                              ONTARIO, CALIFORNIA 91761




                                                                                                                JONATHAN KALLIS,                               Case No. 5:20-cv-01744-RGK-SP
                          ATTORNEYS AT LAW




                                                                                                           13
                                                                                                                                         Plaintiff,            [PROPOSED] ORDER
                                                                                                           14                                                  GRANTING STIPULATION FOR
                                                                                                                         v.                                    DISMISSAL
                                                                                                           15
                                                                                                                CITY OF PALM SPRINGS,                          Current Trial Date:
                                                                                                           16   SERGEANT KYLE STJERNE,                                        November 23, 2021
                                                                                                                OFFICER WILLIAM MOSS, OFFICER                  Action Filed: August 28, 2020
                                                                                                           17   EDMAN ESCALLADA, and DOES 1-
                                                                                                                8,
                                                                                                           18
                                                                                                                                         Defendants.
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                                                                                                                55575.10027\34389507.1                                    [PROPOSED] ORDER GRANTING
                                                                                                                                                                            STIPULATION FOR DISMISSAL
                                                                                                          Case 5:20-cv-01744-RGK-SP Document 40 Filed 09/28/21 Page 2 of 2 Page ID #:175



                                                                                                            1                                    [PROPOSED] ORDER
                                                                                                            2            The Court, having reviewed the Parties’ Joint Stipulation for Dismissal of
                                                                                                            3   Plaintiff’s Remaining Cause of Action with Prejudice, and good cause appearing
                                                                                                            4   therefor:
                                                                                                            5            IT IS HEREBY ORDERED, in accordance with Federal Rule of Civil
                                                                                                            6   Procedure 41(a)(1)(A)(ii), that all claims against the Defendants City of Palm
                                                                                                            7   Springs, Sergeant Kyle Stjerne, Officer William Moss, and Officer Edman Escallada,
                                                                                                            8   shall be dismissed dismissed with prejudice. Each party shall bear his or her own
                                                                                                            9   attorney’s fees and costs.
                                                                                                           10            IT IS SO ORDERED.
                                                                                                           11
BEST BEST & KRIEGER LLP




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                                             2855 E. GUASTI ROAD, SUITE 400
                                                                              ONTARIO, CALIFORNIA 91761
                          ATTORNEYS AT LAW




                                                                                                           13   Dated:             ______________,
                                                                                                                                   September 28    2021    By:
                                                                                                                                                                 HON. R. GARY KLAUSNER
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